          Case 18-31345-CMG                                 Doc 14-1 Filed 11/20/18 Entered 11/20/18 17:42:42                               Desc
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  Fill in this information to identify your case and this filing:
  Debtor 1                   Victor                        Manuel             Curto
                             First Name                    Middle Name        Last Name


  Debtor 2           Silvia                                Lamaison           Curto
  (Spouse, if filing)First Name                            Middle Name        Last Name


                                      DISTRICT OF NEW JERSEY
  United States Bankruptcy Court for the:

  Case number                18-31345
                                                                                                                              Check if this is an
  (if known)
                                                                                                                              amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every


  Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
              No. Go to Part 2.
              Yes. Where is the property?

1.1.                                                              What is the property?                  Do not deduct secured claims or exemptions. Put th
49 Jordan Rd                                                      Check all that apply.                                            Schedule
                                                                                                         amount of any secured claims on D:
Street address, if available, or other description
                                                                    Single-family home                   Creditors Who Have Claims Secured by Property.
                                                                    Duplex or multi-unit building        Current value of the         Current value of the
                                                                    Condominium or cooperative           entire property?             portion you own?
Colonia                                NJ       07067               Manufactured or mobile home                    $279,000.00                $279,000.00
City                                   State    ZIP Code
                                                                    Land
                                                                    Investment property                  Describe the nature of your ownership
                                                                    Timeshare                            interest (such as fee simple, tenancy by the
Middlesex                                                                                                entireties, or a life estate), if known.
County                                                              Other
                                                                                                         Home
                                                                  Who has an interest in the property?
                                                                  Check one.
                                                                    Debtor 1 only                       Check if this is community property
                                                                    Debtor 2 only                       (see instructions)
                                                                    Debtor 1 and Debtor 2 only
                                                                    At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
                                                                                                                                        $279,000.00
       entries for pages you have attached for Part 1. Write that number here.............................................................

  Part 2:            Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered Include
                                                                                                       or not?
                                                                                                            any vehicles
you own that someone else drives. If you lease a vehicle, also report
                                                                   Schedule
                                                                      it on G: Executory Contracts and Unexpired Leases.

3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

             No
             Yes



Official Form 106A/B                                                       Schedule A/B: Property                                                   page 1
       Case 18-31345-CMG                   Doc 14-1 Filed 11/20/18 Entered 11/20/18 17:42:42                                      Desc
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Debtor 1      Victor Manuel Curto
              Silvia Lamaison Curto                                                      Case number (if known) 18-31345

3.1.                                             Who has an interest in the property? Do not deduct secured claims or exemptions. Put th
Make:              Mercury                       Check one.                                                      Schedule
                                                                                      amount of any secured claims   on D:
                                                   Debtor 1 only                      Creditors Who Have Claims Secured by Property.
Model:             Villager
                                                     Debtor 2 only                    Current value of the                 Current value of the
Year:              2002
                                                     Debtor 1 and Debtor 2 only       entire property?                     portion you own?
                   160,000
Approximate mileage:                                 At least one of the debtors and another     $1,100.00                             $1,100.00
Other information:
2002 Mercury Villager (approx.                       Check if this is community property
                                                     (see instructions)
3.2.                                             Who has an interest in the property? Do not deduct secured claims or exemptions. Put th
Make:              Nissan                        Check one.                                                      Schedule
                                                                                      amount of any secured claims   on D:
                                                   Debtor 1 only                      Creditors Who Have Claims Secured by Property.
Model:             Sentra
                                                     Debtor 2 only                    Current value of the                 Current value of the
Year:              2003
                                                     Debtor 1 and Debtor 2 only       entire property?                     portion you own?
                   155,000
Approximate mileage:                                 At least one of the debtors and another     $1,000.00                             $1,000.00
Other information:
2003 Nissan Sentra (approx. 155,000                  Check if this is community property
                                                     (see instructions)
3.3.                                             Who has an interest in the property? Do not deduct secured claims or exemptions. Put th
Make:              Kia                           Check one.                                                      Schedule
                                                                                      amount of any secured claims   on D:
                                                   Debtor 1 only                      Creditors Who Have Claims Secured by Property.
Model:             optima
                                                     Debtor 2 only                    Current value of the                 Current value of the
Year:              2011
                                                     Debtor 1 and Debtor 2 only       entire property?                     portion you own?
                   90,000
Approximate mileage:                                 At least one of the debtors and another     $8,000.00                             $8,000.00
Other information:
2011 Kia optima (approx. 90,000                      Check if this is community property
                                                     (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples:Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here............................................................. $10,100.00

 Part 3:         Describe Your Personal and Household Items
                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                          portion you own?
                                                                                                                           Do not deduct secured
                                                                                                                           claims or exemptions.
6.   Household goods and furnishings
     Examples:Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............                                                                                                   $3,500.00

7.   Electronics
     Examples:Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
               music collections; electronic devices including cell phones, cameras, media players, games
           No
                         computer tvs
           Yes. Describe............                                                                                                     $350.00




Official Form 106A/B                                        Schedule A/B: Property                                                          page 2
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Debtor 1        Victor Manuel Curto
                Silvia Lamaison Curto                                                                        Case number (if known) 18-31345

8.   Collectibles of value
     Examples:Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
9.   Equipment for sports and hobbies
     Examples:Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
              canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
10. Firearms
    Examples:Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
11. Clothes
    Examples:Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
                         Debtors clothing
           Yes. Describe............                                                                                                                                   $500.00

12. Jewelry
    Examples:Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
           No
                         watch, ring
           Yes. Describe............                                                                                                                                   $800.00

13. Non-farm animals
    Examples:Dogs, cats, birds, horses
           No
           Yes. Describe............
14. Any other personal and household items you did not already list, including any health aids you
    did not list
           No
           Yes. Give specific
           information......................
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                            $5,150.00
    attached for Part 3. Write the number here.......................................................................................................................

 Part 4:          Describe Your Financial Assets
                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                           portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.
16. Cash
    Examples:Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
             petition
           No
                                                                                                                                                                       $200.00
           Yes......................................................................................................................................................................................
                                                                                                                      Cash: ...........................................




Official Form 106A/B                                                     Schedule A/B: Property                                                                            page 3
       Case 18-31345-CMG                          Doc 14-1 Filed 11/20/18 Entered 11/20/18 17:42:42                             Desc
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Debtor 1       Victor Manuel Curto
               Silvia Lamaison Curto                                                          Case number (if known) 18-31345

17. Deposits of money
    Examples:Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
             brokerage houses, and other similar institutions. If you have multiple accounts with the same
             institution, list each.
           No
           Yes..............................       Institution name:

           17.1. Checking account:                 Checking account                                                               $1,100.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples:Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes..............................
                                      Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                      Name of entity:                                                    % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments
                         include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instrumentsare those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                      Issuer name:
21. Retirement or pension accounts
    Examples:Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
             profit-sharing plans
           No
           Yes. List each
           account separately.
                            Type of account: Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples:Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
           No
           Yes..............................                Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
           No
           Yes..............................
                                      Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes..............................
                                      Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples:Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

Official Form 106A/B                                              Schedule A/B: Property                                               page 4
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Debtor 1       Victor Manuel Curto
               Silvia Lamaison Curto                                                     Case number (if known) 18-31345

27. Licenses, franchises, and other general intangibles
    Examples:Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them
Money or property owed to you?                                                                                          Current value of the
                                                                                                                        portion you own?
                                                                                                                        Do not deduct secured
                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                       State:
           and the tax years.....................................                                              Local:
29. Family support
    Examples:Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                           Alimony:
                                                                                                    Maintenance:
                                                                                                    Support:
                                                                                                    Divorce settlement:
                                                                                                    Property settlement:
30. Other amounts someone owes you
    Examples:Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
             compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information
31. Interests in insurance policies
    Examples:Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................
                                         Company name:                              Beneficiary:            Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples:Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............




Official Form 106A/B                                            Schedule A/B: Property                                                page 5
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Debtor 1       Victor Manuel Curto
               Silvia Lamaison Curto                                                                  Case number (if known) 18-31345

35. Any financial assets you did not already list

           No
           Yes. Give specific information
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                            $1,300.00
    attached for Part 4. Write that number here.......................................................................................................................

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

           No. Go to Part 6.
           Yes. Go to line 38.
                                                                                                                                             Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
38. Accounts receivable or commissions you already earned

           No
           Yes. Describe................
39. Office equipment, furnishings, and supplies
    Examples:Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
              desks, chairs, electronic devices
           No
           Yes. Describe................
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

           No
           Yes. Describe................
41. Inventory

           No
           Yes. Describe................
42. Interests in partnerships or joint ventures

           No
           Yes. Describe................
                         Name of entity:                                                                              % of ownership:
43. Customer lists, mailing lists, or other compilations

           No
           Yes. Do your lists include personally identifiable information
                                                                    (as defined in 11 U.S.C. § 101(41A))?
                   No
                   Yes. Describe..............
44. Any business-related property you did not already list

           No
           Yes. Give specific information.
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
                                                                                                                                                                   $0.00
    attached for Part 5. Write that number here.......................................................................................................................




Official Form 106A/B                                                 Schedule A/B: Property                                                                      page 6
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Debtor 1       Victor Manuel Curto
               Silvia Lamaison Curto                                                                  Case number (if known) 18-31345


 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

           No. Go to Part 7.
           Yes. Go to line 47.

                                                                                                                                             Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
47. Farm animals
    Examples:Livestock, poultry, farm-raised fish
           No
           Yes............................
48. Crops--either growing or harvested

           No
           Yes. Give specific
           information..........................
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

           No
           Yes..............................
50. Farm and fishing supplies, chemicals, and feed

           No
           Yes..............................
51. Any farm- and commercial fishing-related property you did not already list

           No
           Yes. Give specific
           information..........................
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
                                                                                                                                                                   $0.00
    attached for Part 6. Write that number here.......................................................................................................................

 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples:Season tickets, country club membership

           No
           Yes. Give specific information.

54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                            $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                      page 7
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Debtor 1        Victor Manuel Curto
                Silvia Lamaison Curto                                                                        Case number (if known) 18-31345


  Part 8: List the Totals of Each Part of this Form

                                                                                                                                                                     $279,000.00
55. Part 1: Total real estate, line 2..............................................................................................................................................

56. Part 2: Total vehicles, line 5                                                                   $10,100.00

57. Part 3: Total personal and household items, line 15                                                $5,150.00

58. Part 4: Total financial assets, line 36                                                            $1,300.00

59. Part 5: Total business-related property, line 45                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                $0.00

61. Part 7: Total other property not listed, line 54                                  +                      $0.00

                                                                                                                         Copy personal
62. Total personal property.Add lines 56 through 61.................................$16,550.00                           property total             +              $16,550.00



63. Total of all property on Schedule A/B.                                                                                                        $295,550.00
                                         Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                     Schedule A/B: Property                                                                            page 8
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  Fill in this information to identify your case:
  Debtor 1                 Victor                    Manuel               Curto
                           First Name                Middle Name          Last Name


  Debtor 2           Silvia                          Lamaison             Curto
  (Spouse, if filing)First Name                      Middle Name          Last Name


                                      DISTRICT OF NEW JERSEY
  United States Bankruptcy Court for the:

  Case number              18-31345
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property(Official Form 106A/B) and on
                                                     Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed
                                                                     Schedule
                                                                           in D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).

  Part 1:           List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.
2.     List all of your priority unsecured claims.
                                               If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts,
       list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to


       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                             Total claim      Priority                       Nonpriority
                                                                                                              amount                         amount
     2.1

Priority Creditor's Name                                           Last 4 digits of account number
                                                                   When was the debt incurred?
Number          Street

                                                                   As of the date you file, the claim Check
                                                                                                      is:   all that apply.
                                                                      Contingent
                                                                      Unliquidated
City                                    State   ZIP Code
                                                                      Disputed
Who incurred the debt?Check one.               Type of PRIORITY unsecured claim:
    Debtor 1 only                                 Domestic support obligations
    Debtor 2 only                                 Taxes and certain other debts you owe the government
    Debtor 1 and Debtor 2 only                    Claims for death or personal injury while you were
    At least one of the debtors and another       intoxicated
    Check if this claim is for a community debt   Other. Specify
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1
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Debtor 1         Victor Manuel Curto
                 Silvia Lamaison Curto                                                           Case number (if known) 18-31345

  Part 2:           List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes
4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each
       claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,

                                                                                                                                    Total claim

     4.1                                                                                                                              $1,353.00
Enhanced Recovery Co L                                       Last 4 digits of account number3               0    1     3
Nonpriority Creditor's Name
8014 Bayberry Rd                                             When was the debt incurred?09/2016
Number         Street                                        As of the date you file, the claim Check
                                                                                                is:   all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Jacksonville                     FL      32256
City                             State   ZIP Code
                                               Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                  Student loans
  Debtor 1 only
                                                  Obligations arising out of a separation agreement or divorce
  Debtor 2 only
                                                  that you did not report as priority claims
  Debtor 1 and Debtor 2 only                      Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another         Other. Specify
    Check if this claim is for a community debt   Collection Attorney
Is the claim subject to offset?
    No
    Yes

     4.2                                                                                                                              $7,000.00
NJ Div of Taxation                                           Last 4 digits of account number2 4                  3     4
Nonpriority Creditor's Name
                                                             When was the debt incurred?2012
50 Barrack Street
Number         Street                                        As of the date you file, the claim Check
                                                                                                is:   all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Trenton                          NJ      08608
City                             State   ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   1040 Taxes
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2
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Debtor 1         Victor Manuel Curto
                 Silvia Lamaison Curto                                                Case number (if known) 18-31345

  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                         Total claim
previous page.
   4.3                                                                                                                    $13,934.97
NJ Div of Taxation                                      Last 4 digits of account number0 6         3    4
Nonpriority Creditor's Name
                                                        When was the debt incurred?2010
50 Barrack Street
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Trenton                         NJ       08608
City                            State    ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   1040 Taxes
Is the claim subject to offset?
    No
    Yes

   4.4                                                                                                                     $1,295.00
Pinnacle Llc/resurgent                                  Last 4 digits of account number0 0 0 1
Nonpriority Creditor's Name
                                                        When was the debt incurred?04/2014
Po Box 10497
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Greenville                      SC       29603
City                            State    ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                Student loans
  Debtor 1 only                                 Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                Other. Specify
  Check if this claim is for a community debt   Factoring Company Account
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                page 3
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Debtor 1         Victor Manuel Curto
                 Silvia Lamaison Curto                                                Case number (if known) 18-31345

  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                         Total claim
previous page.
   4.5                                                                                                                     $3,150.00
Ray Catena Motor Corp                                   Last 4 digits of account number6 2         0    8
Nonpriority Creditor's Name
                                                        When was the debt incurred?2005
910 US Route 1
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Edison                          NJ       08817
City                            State    ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   Judgment
Is the claim subject to offset?
    No
    Yes

   4.6                                                                                                                    $15,218.53
Toyota Motor Credit                                     Last 4 digits of account number4 0 1 3
Nonpriority Creditor's Name
                                                        When was the debt incurred?2012
4 Gatehall Dr. #35
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Parsippany                      NJ       07054
City                            State    ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                Student loans
  Debtor 1 only                                 Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                Other. Specify
  Check if this claim is for a community debt   Judgment
Is the claim subject to offset?
    No
    Yes




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Debtor 1        Victor Manuel Curto
                Silvia Lamaison Curto                                                                Case number (if known) 18-31345

  Part 3:         List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or
       2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified



Rubin & Rothman, LLC                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1787 Veterens Highway, Ste 32                                      Line     4.6 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
Number        Street
PO Box 9003                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims

                                                                   Last 4 digits of account number
Islandia                           NY       11749
City                               State    ZIP Code




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Debtor 1       Victor Manuel Curto
               Silvia Lamaison Curto                                                           Case number (if known) 18-31345

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.



                                                                                                                    Total claim
Total claims        6a. Domestic support obligations                                                         6a.                  $0.00
from Part 1

                    6b. Taxes and certain other debts you owe the government                                 6b.                  $0.00

                    6c. Claims for death or personal injury while you were intoxicated                       6c.                  $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.6d. +                              $0.00


                    6e. Total. Add lines 6a through 6d.                                                      6d.                  $0.00




                                                                                                                    Total claim
Total claims        6f. Student loans                                                                        6f.                  $0.00
from Part 2

                    6g. Obligations arising out of a separation agreement or divorce                         6g.                  $0.00
                         that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                          6h.                  $0.00
                         debts

                    6i. Other. Add all other nonpriority unsecured claims. Write that amount here.
                                                                                              6i. +                         $41,951.50


                    6j. Total. Add lines 6f through 6i.                                                      6j.            $41,951.50




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 Fill in this information to identify your case:
 Debtor 1              Victor                    Manuel                    Curto
                       First Name                Middle Name               Last Name


 Debtor 2           Silvia                       Lamaison                  Curto
 (Spouse, if filing)First Name                   Middle Name               Last Name


                                     DISTRICT OF NEW JERSEY
 United States Bankruptcy Court for the:

 Case number           18-31345
                                                                                                                                        Check if this is an
 (if known)
                                                                                                                                        amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended



 Part 1:         Summarize Your Assets

                                                                                                                                                  Your assets
                                                                                                                                                  Value of what you own
1.   Schedule A/B: Property
                         (Official Form 106A/B)
                                                                                                                                                       $279,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................

                                                                                                                                                    $16,550.00
     1b. Copy line 62, Total personal property, from Schedule A/B........................................................................................................................


                                                                                                                                                        $295,550.00
     1c. Copy line 63, Total of all property on Schedule A/B..................................................................................................................................


 Part 2:         Summarize Your Liabilities

                                                                                                                                                    Your liabilities
                                                                                                                                                    Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property(Official Form 106D)
                                                                                                                        $408,557.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims  (Official Form 106E/F)
                                                                                                                                              $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................................................


                                                                                                                   +               $41,951.50
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................


                                                                                                                   Your total liabilities                    $450,508.50




 Part 3:         Summarize Your Income and Expenses

4.   Schedule I: Your Income
                           (Official Form 106I)
                                                                                                                                                    $4,986.94
     Copy your combined monthly income from line 12 of Schedule I.....................................................................................................................

5.   Schedule J: Your Expenses
                             (Official Form 106J)
                                                                                                                                                        $5,005.61
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1
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Debtor 1      Victor Manuel Curto
              Silvia Lamaison Curto                                               Case number (if known) 18-31345


 Part 4:       Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?
           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?
           Your debts are primarily consumer debts.   Consumer debtsare those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts.  You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From theStatement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11;
                                OR, Form 122B Line 11;
                                                    OR, Form 122C-1 Line 14.                                               $6,524.17


9.   Copy the following special categories of claims from Part 4, line
                                                                    Schedule
                                                                       6 of  E/F:

                                                                                                  Total claim
     From Part 4 onSchedule E/F,copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                          $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                  $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                        $0.00


     9d. Student loans. (Copy line 6f.)                                                                         $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                $0.00
         priority claims. (Copy line 6g.)

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)   +                 $0.00


     9g. Total. Add lines 9a through 9f.                                                                        $0.00




Official Form 106Sum          Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2
